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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


UNITED STATES OF AMERICA

-v-                                             CASE NO. 6:09-CR-209-ORL-35KRS

CIPRIANO VELARDE
_____________________________________


                                        ORDER

       This case having been considered by the Court on the Report and Recommendation

Concerning Plea of Guilty (Doc. No. 97, filed December 16, 2009) and no objection thereto

having been filed, it is ORDERED:

       1.     The Report and Recommendation of the United States Magistrate Judge

(Doc. No. 97) is ACCEPTED, AFFIRMED AND ADOPTED.

       2.     Defendant Cipriano Velarde has entered a plea of guilty to Count One of the

Indictment knowingly, intelligently and voluntarily. Such plea is accepted, and Defendant

is adjudicated guilty of Count One of the Indictment.

       DONE AND ORDERED at Orlando, Florida, this 21st day of December 2009.




Copies to:
Assistant United States Attorney
Attorney for Defendant
United States Marshal
United States Probation
United States Pretrial Services
